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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                   CR 15-82-GF-BMM-JTJ

                 Plaintiff,                 FINDINGS AND
                                            RECOMMENDATIONS TO
       vs.                                  REVOKE DEFENDANT’S
                                            SUPERVISED RELEASE
 PAIGE LARANN DEMARCE,

                 Defendant.


                                    I. Synopsis

      Defendant Paige Larann Demarce (Demarce) has been accused of violating

the conditions of her supervised release by failing to report to her probation officer

within 72 hours of her release from custody, by leaving Montana without the

permission of her probation officer, and by failing to report for substance abuse

treatment. Demarce has admitted all of the alleged violations. Demarce’s

supervised release should be revoked. Demarce should be placed in custody until

November 1, 2018, with 90 days of supervised release to follow. Demarce should

reside at Passages treatment facility in Billings, Montana, while she is on

supervised release.



                                     II. Status
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        Demarce pleaded guilty to Bank Employee Fraud on February 8, 2016.

(Doc. 36). The Court sentenced Day to 7 days of custody, followed by 3 years of

supervised release. (Doc. 62). Demarce’s current term of supervised release began

on August 2, 2018. (Doc. 129 at 2).

        Petition

        The United States Probation Office filed a Petition requesting that the Court

revoke Demarce’s supervised release on August 23, 2018. (Doc. 129). The

Petition alleged that Demarce violated the conditions of her supervised release by

failing to report to her probation officer within 72 hours of her release from

custody, by leaving Montana without the permission of her probation officer, and

by failing to report for substance abuse treatment. United States District Judge

Brian Morris issued a warrant for Demarce’s arrest on August 23, 2018.           (Doc.

130).

        Initial appearance

        Demarce appeared before the undersigned for her initial appearance on

October 23, 2018. (Doc. 132). Demarce was represented by R. Hank Branom,

Esq. Demarce stated that she had read the petition and that she understood the

allegations. Demarce waived her right to a preliminary hearing. The parties

consented to proceed with the revocation hearing before the undersigned.


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      Revocation hearing

      The Court conducted a revocation hearing on October 23, 2018, and on

October 30, 2018. Demarce admitted that she had violated the conditions of her

supervised release by failing to report to her probation officer within 72 hours of

her release from custody, by leaving Montana without the permission of her

probation officer, and by failing to report for substance abuse treatment. The

violations are serious and warrant revocation of Demarce’s supervised release.

      Demarce’s violation is a Grade C violation. Demarce’s criminal history

category is I. Demarce’s underlying offense is a Class B felony. Demarce could

be incarcerated for up to 36 months. Demarce could be ordered to remain on

supervised release for up to 52 months, less any custody time imposed. The United

States Sentencing Guidelines call for a term of custody of 3 to 9 months. Demarce

waived her right to allocute before the Court.

                                   III. Analysis

      Demarce’s supervised release should be revoked. Demarce should be

incarcerated until November 1, 2018, with 90 days of supervised release to follow.

This sentence is sufficient but not greater than necessary. Demarce should be

incarcerated at the Great Falls, Detention Center. Demarce should be released to

the custody of the United States Probation Office on November 1, 2018. The


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Untied States Probation Office should transport Demarce to Passages treatment

center in Billings, Montana. Demarce should reside at Passages while she is on

supervised release. The supervised release conditions imposed previously should

be continued.

                                 IV. Conclusion

      The Court informed Demarce that the above sentence would be

recommended to Judge Morris. The Court also informed Demarce of her right to

object to these Findings and Recommendations within 14 days of their issuance.

The Court explained to Demarce that Judge Morris would consider a timely

objection before making a final determination on whether to revoke her supervised

release and what, if any, sanction to impose. Demarce stated that she wished to

waive her right to object to these Findings and Recommendations

The Court FINDS:

      Paige Larann Demarce violated the conditions of her supervised release by
      failing to report to her probation officer within 72 hours of her release from
      custody, by leaving Montana without the permission of her probation
      officer, and by failing to report for substance abuse treatment.

The Court RECOMMENDS:

      1.    The District Court should revoke Demarce’s supervised release
            and commit Demarce to the custody of the United States
            Bureau of Prisons until November 1, 2018, with 90 days of
            supervised release to follow.



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      2.     Demarce should be incarcerated in the Great Falls Detention
             Center.

      3.     Demarce should be released to the custody of the United States
             Probation Office on November 1, 2018.

      4.     The United States Probation Office should transport Demarce to
             Passages treatment center in Billings, Montana.

      5.     Demarce should reside at Passages while she is on supervised
             release.


        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT


      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file written

objections may bar a de novo determination by the district judge, and may




waive the right to appear and allocute before a district judge.


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DATED this 31st day of October, 2018.




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